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              IN THE UNITED STATES DISTRICT COURT FOR THE
             NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HAROLD RICHARDSON,                             )
                                               )
         Plaintiff,                            )   Case No. 12 C 9184
                                               )
v.                                             )
                                               )
CITY OF CHICAGO, Chicago Police                )   Hon. Judge Dow., presiding
Detectives KENNETH BOUDREAU,                   )
RICHARD PALADINO, JAMES                        )
CASSIDY, THOMAS COUGHLIN,                      )
WILLIAM FOLEY, FRANK VALADEZ                   )
and PAT MCCAFFERTY, Chicago Police             )
Sergeant LAWRENCE TUDIER, Cook                 )   JURY TRIAL DEMANDED
County Assistant State’s Attorneys             )
FABIO VALENTINI and TERENCE                    )
JOHNSON, COOK COUNTY, ILLINOIS,                )
and as-yet Unknown Current or Former           )
City of Chicago Employees,                     )
                                               )
                                               )
         Defendants.                           )


                          FIRST AMENDED COMPLAINT

         NOW COMES Plaintiff, HAROLD RICHARDSON, by his attorneys LOEVY

& LOEVY, and complaining of Defendants CITY OF CHICAGO, Chicago Police

Detectives KENNETH BOUDREAU, RICHARD PALADINO, JAMES CASSIDY,

THOMAS COUGHLIN, WILLIAM FOLEY, FRANK VALADEZ, and PAT

MCCAFFERTY, Chicago Police Sergeant LAWRENCE TUDIER, Cook County

Assistant State’s Attorneys FABIO VALENTINI and TERENCE JOHNSON, COOK

COUNTY, ILLINOIS, and as-yet Unknown Current and Former City of Chicago

Employees, and states as follows:



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                                     INTRODUCTION


       1.     Plaintiff Harold Richardson spent nearly half of his life in prison for a

crime he did not commit.

       2.     Harold was arrested at the age of sixteen for the brutal strangulation-

murder and rape of a woman named Nina Glover. Ms. Glover’s nude body was

found in a dumpster, wrapped in a sheet, on the morning of November 7, 1994.

       3.     Harold was innocent, and had nothing to do with the crime. No

physical evidence connected him to the crime. The sum total of evidence against

him was his false confession, which was fabricated and coerced by Chicago Police

Department (CPD) officers, several of whom have long and notorious histories of

similar acts of misconduct. The CPD officers fabricated and coerced Harold’s

confession in conjunction with two Cook County Assistant State’s Attorneys from

the Felony Review Unit who were investigating the case with the officers.

       4.     Although Harold and his four teenaged co-defendants all confessed to

raping and murdering the victim, evidence available at the time of Harold’s

conviction, including DNA evidence, excluded him and each of his co-defendants as

the perpetrators of the murder.

       5.     The force of the Defendants’ misconduct, however, was enough to

overcome the DNA exclusions and secure convictions against Harold and three of

his co-defendants.

       6.     Harold was wrongfully convicted and sentenced to spend the next 40

years of his life in prison.


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      7.     Recent DNA testing revealed that the rape and murder was committed

by a single perpetrator named Johnny Douglas. At the time of Ms. Glover’s murder,

Douglas was more than twice Harold’s age, and was a convicted felon with a lengthy

criminal history involving physical violence. Remarkably, Douglas was at the crime

scene on the morning that Ms. Glover’s body was discovered, and was one of the

first people the police interviewed. Neither Harold nor any of his juvenile co-

defendants (ranging in age from 15 to 18 years old) knew Douglas or had any

association with him.

      8.     Although Douglas was known to the police at the time the victim’s

body was discovered, the Defendant Officers, in agreement with the ASAs, instead

focused their attention on framing Plaintiff and his co-defendants. Tragically,

Douglas was allowed to remain free as a result and was later convicted of the

strangulation-murder of a prostitute named Gytonne Marsh, charged with the

strangulation-murder of another prostitute named Elaine Martin, and implicated in

at least five other violent physical and sexual assaults of prostitutes between 1993

and 1997.

      9.     Almost fifteen years after their convictions, Plaintiff and his co-

defendants were exonerated when DNA evidence confirmed that they were in fact

innocent of the rape and murder.

      10.     Sixteen years, eight months, and nine days after he was robbed of his

freedom for a crime he did not commit, Harold Richardson walked out of prison a




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free man. The State of Illinois granted Harold and each of his co-defendants a

certificate of innocence on September 14, 2012.

      11.    Just sixteen years old when he was arrested, Harold spent the most

formative years of his life surrounded by dangerous and hardened criminals,

separated from his family and friends, and robbed of the most basic of freedoms.

While incarcerated, Harold also lost his oldest brother, whom he idolized and

considered a second father; he was killed shortly after Harold’s arrest, while

bringing home money the family was going to use to pay for Harold’s criminal

defense attorney. Harold files this civil rights action to bring the Defendants’

misconduct to light, to ensure that they are held accountable for their actions, and

to seek justice for nearly 17 years of imprisonment for a crime he did not commit.

                             Jurisdiction and Venue


      12.    This action is brought pursuant to 42 U.S.C. § 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the United States

Constitution.

      13.    This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367.

      14.    Venue is proper under 28 U.S.C. § 1391(b). The events giving rise to

the claims asserted herein occurred in this judicial district and Defendant City of

Chicago is a municipal corporation located here.

                                        The Parties

      15.    Plaintiff Harold Richardson is 34 years old. He lives in South Bend,

Indiana. At the time of the victim’s murder, Harold lived with his family in the


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Englewood area of Chicago. He was just 16 years old and enrolled at Thomas Kelly

High School in Chicago, Illinois.

       16.    At all relevant times, Defendants Kenneth Boudreau, Richard

Paladino, James Cassidy, Thomas Coughlin, William Foley, Frank Valadez, and

Patrick McCafferty were detectives with the Chicago Police Department; all were

employed by Defendant City of Chicago and acting within the scope of their

employment. They are sued in their individual capacities.

       17.    At all relevant times, Defendant Lawrence Tudier was a sergeant with

the Chicago Police Department; employed by Defendant City of Chicago, and acting

within the scope of his employment. Mr. Tudier is sued in his individual capacity.

       18.    Defendants Boudreau, Paladino, Cassidy, Coughlin, Foley, Valadez,

McCafferty, Tuldier, and as-yet Unknown Current or Former City of Chicago

Employees are referred to collectively as the “Defendant Officers.”

       19.    At all times relevant, Defendants Fabio Valentini and Terence Johnson

were Assistant State’s Attorneys in the Felony Review unit of the Cook County

State’s Attorney’s Office (CCSAO), and employed by the Cook County State’s

Attorney’s Office. They are sued in their individual capacities.

       20.    The Defendant City of Chicago is a municipal corporation under the

laws of the State of Illinois.

       21.    Defendant Cook County is a governmental entity within the State of

Illinois, which consists in part of its Cook County State’s Attorney’s Office, and was




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at all relevant times the employer of Defendants Terence Johnson and Fabio

Valentini. Defendant Cook County is a necessary party to this lawsuit.

                                 The Glover Murder


      22.      At approximately 7 a.m. on November 7, 1994, Nina Glover’s nude

body was discovered in a dumpster behind the Family Super Mart Liquor Store at

1400 W. Garfield. Her body was wrapped in a blood-stained bedsheet, along with

her clothing and shoes. An autopsy revealed that Ms. Glover had been killed by

strangulation.

      23.      Defendant Cassidy and other Chicago Police Department personnel

were assigned to investigate the crime. When Defendant Cassidy arrived at the

crime scene, four individuals identified themselves: the garbage truck driver who

had discovered the body, an assistant manager for the liquor store, a neighborhood

resident who lived around the corner, and Johnny Douglas.

      24.      Douglas was a convicted felon with a lengthy and violent criminal

history—between July 1980 and April 1998, Douglas was arrested 83 times and

convicted of crimes 38 times. Nor was this Douglas’s first rape or assault. His prior

crimes included:

            a. On March 5, 1993, over two years before killing Ms. Glover, Douglas

               paid Debra Gibson to have sex with him and then assaulted her,

               hitting her head with a rock.




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            b. On May 5, 1993, Douglas attempted to force Brena Hillie to have oral

               sex with him. When she tried to escape, he beat her with a stick and

               cut her with broken glass.

            c. On July 10, 1994, four months before killing Ms. Glover, Douglas met

               with a woman named Caprice Bramlett—in the exact same

               neighborhood where he would later meet with Ms. Glover. Douglas

               raped Ms. Bramlett twice, and choked her. Douglas was convicted of

               aggravated sexual assault based on this incident and sentenced to six

               months in prison, but with good time credit served half of that.

            d. On October 21, 1994, shortly after his release from prison and just

               weeks before meeting Ms. Glover, Douglas attempted to rape a woman

               named Hazel Speight. He grabbed her and demanded she undress, but

               someone interrupted Douglas before he could complete the rape.

      25.      Defendant Cassidy learned that Douglas lived nearly ten miles from

the crime scene, and that he had no explanation for his presence in the alley on that

early Monday morning.

      26.      Douglas was an obvious prime suspect in the murder, and all of the

information detailed above about Douglas’s prior criminal history was known to

Chicago law enforcement when they encountered him on the morning of November

7, 1994. On information and belief, the Defendant Officers failed to run Douglas’s

background, which would have alerted them to his significant criminal history.




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      27.      After Defendant Officers failed to pursue Douglas at the time of Ms.

Glover’s murder, Douglas went on to terrorize many other women in Chicago. For

example:

            a. On June 17, 1995, a little over 6 months after killing Ms. Glover,

               Douglas raped and murdered Elaine Martin, along with her unborn

               child, while she was engaged in prostitution. As he had done with Ms.

               Glover, Douglas strangled Ms. Martin and left her body in a public

               location.

            b. On April 14, 1997, Douglas raped and strangled another woman:

               Gytonne Marsh. Like Ms. Glover and Ms. Martin, Ms. Marsh’s body

               was found discarded in public, in a garage. Douglas pled guilty to Ms.

               Marsh’s murder many years later; he admitted to having sex with Ms.

               Marsh in exchange for cocaine, and choking her to death while they

               had sex.

            c. On September 28, 1997, a few months after killing Ms. Marsh, Douglas

               raped Catie Oakes in his parents’ garage. His DNA was later recovered

               from her clothing.

      28.      During the Cook County State’s Attorney’s prosecution of Douglas for

one of these crimes, the prosecutors sought to introduce evidence of Douglas’s

“modus operandi,” including physically assaulting and later strangling women after

exchanging drugs for sex, and then abandoning their bodies in public locations. The

prosecutors also pointed out that when Douglas was confronted with the charges



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that he had beaten and sexually assaulted five separate women, he admitted doing

so, but said that “nobody believed them because they were ‘just whores.’”

      29.    Douglas’s violence against women finally came to an end in 2008,

when he was killed by Minosa Winters, who claimed self-defense. During the

prosecution of Ms. Winters for Douglas’s death, the State’s Attorney’s Office

stipulated to Douglas’s reputation in the community for violence, and that Douglas

was “a major bully in the area who had violently attacked other people.” Ms.

Winters was acquitted.

      30.    Despite the mountain of evidence against Douglas, Defendant Officers

investigating the Glover murder in November 1994 failed to link Douglas to Ms.

Glover’s death.

      31.    Instead, the investigation into Ms. Glover’s murder came to a

standstill. Until, four months later, they came across a learning-disabled teenager

named Jerry Fincher.

                           The Interrogation and Creation of
                         The False Cases Against The Teenagers

      32.    On the night of March 7, 1995, the Defendant Officers approached

Jerry Fincher and a friend who were standing on the street outside Jerry’s home, a

few blocks from the alley where Ms. Glover’s body had been found. The Defendant

Officers frisked Jerry and his friend, threatened to plant crack cocaine rocks on

them, and asked them about Ms. Glover’s murder.




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      33.    Jerry honestly informed the Defendant Officers that he remembered a

woman’s body having been found in a nearby dumpster a few months back, and he

told them that he and a friend had seen the police take the body away.

      34.    This, apparently, was the break the Defendant Officers were looking

for. The Defendant Officers handcuffed Jerry, held him in their car at gunpoint,

and took him to the Area One Detective Division at 51st and Wentworth.

      35.    Jerry was detained at the police station for nearly two days. Despite

telling the Defendant Officers that he knew nothing about the crime and was not in

any way involved in it, he was kept in handcuffs, forced to spend two sleepless

nights in interrogation rooms, and threatened with physical violence. The

Defendant Officers, including Defendant Valadez, fed him details of the crime and

told him that he would go to prison for the murder unless he cooperated. At one

point, one of the Defendant Officers placed a phone book against his chest and

pounded the phone book with a flashlight, hurting the boy, and directed him to

cooperate.

      36.    The Defendant Officers told him that if he cooperated, he could go

home. Defendant ASA Johnson participated in the interrogation of Jerry Fincher

along with Defendant Officers.

      37.    Over the course of those two days, Jerry acquiesced. He began to

regurgitate the details that the Defendant Officers were telling him about the

murder.




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      38.     The Defendant Officers described a false scenario where he, along with

other neighborhood teenagers, had taken Ms. Glover to a basement at

approximately 9 p.m. on November 6th, gang raped her, strangled her, and disposed

of her body in the dumpster. Over time, the Defendant Officers minimized his role

in the murder, saying that they knew he had simply stood watch as the other teens

raped and murdered her.

      39.     Assistant State’s Attorney (“ASA”) Terence Johnson participated in the

interrogation of Jerry Fincher along with the Defendant Officers.

      40.     Eventually, Jerry acquiesced. Due to the Defendant Officers’ and

Defendant Johnson’s coercive efforts, Jerry agreed to the details that the

Defendants were feeding him about the murder. ASA Johnson took the coerced and

fabricated statement from Jerry and reduced it to writing on March 9, 1995.

      41.     Defendants were able to get Jerry Fincher to implicate four other

neighborhood teenagers in the murder: Plaintiff Harold Richardson, Vincent

Thames, Terrill Swift, and Michael Saunders. Like Fincher, none of these teenagers

were involved in the rape or murder of Ms. Glover, and none knew true perpetrator

Johnny Douglas or otherwise had any nonpublic knowledge about the Glover rape

and murder.




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      44.    The Defendant Officers, ASA Johnson, and ASA Valentini knew Jerry’s

statement was coerced and false and merely a recitation of their fabrications.

Nevertheless, with Jerry’s “confession” secured, the Defendant Officers set out to

round up the rest of the teens mentioned in Jerry’s coerced statement in order to

continue building their case.

      45.    Over the course of the next few days, Defendant Officers, working

agreement and in concert with Defendant ASAs Johnson and Valentini, coerced

each juvenile to “confessing” to taking part in the rape and murder of Ms. Glover.

      46.    On March 9th, the Defendant Officers took Vincent Thames from his

home and transported him to the police station, where he was handcuffed to the

wall of an interrogation room. Vincent was 18 years old and living at home at the

time of the murder. He had no experience with police interrogation.

      47.    Defendants McCafferty, Cassidy and Paladino threatened that he

would get natural life in prison unless he “confessed” to his involvement in Ms.

Glover’s murder. He told the Defendant Officers that he did not know anything




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about the murder, and had nothing to do with the murder. Defendant Johnson

participated in Vincent’s interrogation, along with Defendant Officers.

      48.     Over the course of several hours, the Defendant Officers pursued

various measures intended to coerce Vincent into falsely confessing. Frightened by

their threats, and believing the Defendant Officers’ promises that they would

release him if he went along with the Defendant Officers’ story, Vincent succumbed

to their pressure.

      49.     Due entirely to the Defendant Officers’ and Defendant Johnson’s

coercion, Vincent agreed to the Defendant Officers’ fabrications in a final recorded

statement on March 9, 1995, which implicated Plaintiff Harold Richardson, Jerry

Fincher, Terrill Swift, and Michael Saunders. While taking his statement,

Defendants would correct Vincent’s words and statements where they did not line

up with the story that Defendant Officers had made up. Defendant ASAs were

aware that Vincent was being coerced and fed information, but recorded the

confession and reinforced the promise that Vincent would be freed if he cooperated.

      50.     Vincent Thames was innocent and had nothing to do with Ms. Glover’s

murder. He would not have falsely implicated himself but for the Defendants’

misconduct.

      51.     The Defendant Officers next sought out Terrill Swift. The Defendant

Officers took seventeen-year-old Terrill from his father’s home and down to the

police station, where they interrogated him for hours outside the presence of

parents, a guardian, or an attorney. Terrill told the Defendant Officers that he did



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not know anything about the murder, and that he had nothing to do with the

murder. The Defendant Officers ignored his multiple requests that he be allowed to

call his mother.

      52.    The Defendant Officers, including Defendants Paladino and Boudreau,

instead fed Terrill details of the Glover murder and repeatedly instructed him to

implicate himself and the other teenagers in the crime. They made false promises of

leniency, reinforced by Defendant Johnson, repeatedly assuring Terrill that if he

agreed to repeat and sign the confession they had concocted for him then he would

be free to go home. They also made it clear that if he did not confess, he would

remain in their custody.

      53.    As a result of hours of improper and undue pressure, inflicted on a

teenager who had little experience with law enforcement, Terrill eventually falsely

implicated himself, Plaintiff, Jerry Fincher, Vincent Thames, and Michael Saunders

in an oral statement and in a court-reported statement.

      54.    The Defendant Officers knew that Terrill’s statement was coerced and

false and merely a recitation of their fabrications. During his confession,

Defendants would correct his words and statements where they did not line up with

the story that Defendant Officers expected and desired. Defendant ASAs were

aware that Terrill was being coerced and fed information, but recorded the

confession and reinforced the promise that he would be freed if he cooperated.




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      55.    Terrill Swift was innocent and had nothing to do with Ms. Glover’s

murder. He would not have falsely implicated himself in the crime but for the

Defendant Officers’ and Defendant ASAs’ misconduct.

      56.    The Defendant Officers then turned their attention to Plaintiff Harold

Richardson. At the time of Ms. Glover’s murder, Harold was 16 years old, lived with

his parents, siblings, a nephew, and a great aunt, and was enrolled at Kelly High

School.

      57.    On the night of March 9, 1995, the Harold Richardson was arrested by

the Defendants as he was walking home from a friend’s house. The Defendant

Officers told him, in sum and substance, that they had caught him in front of “the

crime scene,” and they threatened to take him to the nearby viaduct and kill him.

Mr. Richardson was terrified and did not know what was happening.

      58.    Harold was taken to the police station, where the Defendant Officers,

including Defendants Paladino, Cassidy and Coughlin, interrogated Harold outside

the presence of a parent, guardian, or a youth officer. They handcuffed him to the

wall of an interrogation room, fed him details of Ms. Glover’s murder, and pressured

him to implicate himself in the crime.

      59.    Harold did not know Ms. Glover and he knew nothing about Ms.

Glover’s murder. He told this to the Defendant Officers.

      60.    The Defendant Officers told Harold that they had evidence he was

guilty. They told him that other teenagers had given confessions that squarely

implicated him in the murder. Harold vaguely knew one of the teenagers they



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      67.    Harold was innocent of the crime and had nothing to do with Ms.

Glover’s murder. He would not have falsely implicated himself but for the

Defendants’ misconduct.

      68.    The Defendant Officers and Defendant ASAs knew that Harold’s

statement was coerced and false and merely a recitation of their fabrications.

      69.    Ultimately, after making an oral statement, Harold refused to sign a

written statement documenting his confession, knowing that it was untrue.

      70.    Though Defendants had written out a confession for Harold to sign,

after he refused to sign it, they destroyed the version of the statement that they had



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prepared. Even though he had not signed the document, Harold was charged with

first degree murder and aggravated sexual assault and taken to jail.

      71.    Michael Saunders, just 15 at the time, was the last to be arrested. The

Defendant Officers located him, handcuffed him, and took him to the police station.

There, the Defendant Officers interrogated him for hours, ignoring his requests for

his mother and for an attorney.

      72.    The Defendant Officers threatened Michael with physical harm, at one

point ripping an earring out of his ear and threatening to take him to the railroad

tracks behind the police station and shoot him.

      73.    As a result of the hours of coercion and threats, Michael eventually

signed a statement falsely implicating himself, Plaintiff, Vincent Thames, Terrill

Swift, and Jerry Fincher. Like Plaintiff Harold Richardson’s unsigned statement,

Saunders’ statement was a fabrication, written entirely by Defendant ASA Fabio

Valentini—who had been working with ASA Johnson and the Defendant Officers.

Michael signed the statement without reading it, believing that after doing so, he

would be permitted to go home.

      74.    The Defendants knew that Michael’s statement was coerced and false

and merely a recitation of their fabrications.

      75.    Michael Saunders was innocent and had nothing to do with Ms.

Glover’s murder. He would not have falsely implicated himself but for the

Defendants’ misconduct.




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                            Plaintiff’s Wrongful Conviction

      88.    In November 1997, Harold Richardson stood trial for the rape and

murder of Nina Glover.

      89.    No physical evidence ever linked Harold to the crime. In fact, DNA

testing affirmatively excluded him as the perpetrator. The prosecutors relied nearly

singularly on Harold’s false and coerced oral confession.

      90.    The Defendants were aware of this evidence but nevertheless continue

to misrepresent the circumstances under which they had obtained the statements



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from the five teenagers, concealing the coercion they had used and the fact that the

information in the confessions had been fed to the teenagers by the Defendants. The

Defendants failed to investigate other leads, such as Johnny Douglas—a man with a

lengthy and violent criminal past who was inexplicably present at the crime scene

the morning Nina Glover’s body was discovered.

       91.    As a proximate result of the above-described misconduct on the part of

the Defendant Officers and Defendant ASAs, Harold was convicted in a bench trial.

In explaining his ruling, Judge Sumner stated, “Obviously, the whole question

comes down to the statement . . . The fact of the matter [is] I believe the statement.

That’s really all I need.”

       92.    When he found Harold guilty, Judge Sumner did not know that

Harold’s confession had been coerced by Defendant Officers and Defendant ASAs.

The Defendants who testified at Harold’s pre-trial suppression hearing and at his

trial, including Defendant Paladino, Defendant Cassidy, Defendant Boudreau,

Defendant Coughlin, and Defendant Johnson, did not admit that they had

fabricated the confession. Each of these Defendants followed an affirmative plan

generated by the Defendant Officers, which included coordinated perjury of each

Defendant at the suppression hearing, to conceal the fact that Harold’s confession

was false and that it was the product of police coercion.

       93.    Because the Defendants concealed from the judge, the trial

prosecutors, and Harold Richardson and his attorney that they had fabricated the

confessions of Harold’s co-defendants, Harold was unable to call the boys as



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witnesses who could testify at his confession, which alleged each of their

participation in the crime, was fabricated and false.

      94.     But for the Defendants’ misconduct, Plaintiff would have been neither

prosecuted nor convicted.

      95.     On January 27, 1998, Plaintiff was sentenced to 40 years in prison.

                 The Other Teenagers Are Wrongfully Convicted


      96.     On the basis of their confessions, Terrill Swift and Michael Saunders

were also convicted after bench trials. Terrill was sentenced to 36 years in prison,

and Michael to 40. In light of the outcomes of his co-defendants’ trials, which all

proceeded before his, Vincent Thames pled guilty and was sentenced to 30 years in

prison.

      97.     Jerry Fincher’s “confession” was deemed to be illegally obtained and

excluded following a suppression hearing. Without any other evidence to convict

him, the prosecutors dropped all charges against him. Jerry Fincher was released

in 1998 after having spent 3 ½ years in jail.

            Defendants’ Pattern and Practice of Coercing False Confessions
                      In Order to Secure Wrongful Convictions

      98.     The Defendants’ misconduct in this case was no isolated occurrence.

      99.     Defendant Boudreau, for example, is one of the notorious homicide

detectives who, under former Chicago Police Commander Jon Burge, had a lengthy

history of physically and psychologically coercing suspects, including juveniles and

teenagers, to “confess” to serious violent crimes, including murder. Defendant



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Cassidy had a similarly notorious history of coercing and manufacturing confessions

from juveniles as young as seven years old.

      100.   These Defendants’ methods went far beyond acceptable police

interrogation techniques. Indeed, in an examination of thousands of murder cases

in Cook County from 1991 through 2000, the Chicago Tribune found that Boudreau

and many of his colleagues had been involved in a wide range of cases that

ultimately collapsed even though they had obtained confessions.

      101.   According to the Tribune’s survey, “Boudreau stands out not only for

the number of his cases [with confessions] that have fallen apart, but for the

reasons. In those cases, Boudreau has been accused by defendants of punching,

slapping or kicking them; interrogating a juvenile without a youth officer present;

and of taking advantage of mentally retarded suspects and others with low IQs.”

      102.   In total, Boudreau managed to obtain murder confessions from more

than a dozen people in which the charges were either dropped or the defendant was

acquitted notwithstanding the supposed confessions.

      103.   For a two-year period in the early 1990s, for example, Boudreau and

his partner Halloran helped “solve” at least five murders with “confessions” that

ended with acquittals. All of these suspects alleged that Boudreau and/or his

partner mistreated them to obtain false confessions.

      104.   Some examples of abuses perpetrated by Boudreau, often in

cooperation with other Defendant Officers, include the following, all of which are

corroborated by sworn testimony:



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       a. Derrick Flewellen signed a confession coerced by Boudreau after being

           interrogated for more than 36 hours, during which time he was

           slapped, kicked, punched, and slammed into the wall by Boudreau and

           other detectives before succumbing to their coercion.      After

           spending almost five years in prison, Flewellen was acquitted of the

           two murders when DNA tests proved the crime was committed by

           someone else.

       b. Boudreau obtained a murder confession from Alfonzia Neal, testifying

           that Neal waived his rights and signed a statement handwritten by a

           prosecutor. Experts established that Neal had an IQ in the 40s, well

           below the dividing line for mental retardation, and that he was

           incapable of intelligently waiving his Miranda rights. Neal was

           acquitted notwithstanding his signed confession.

       c. In December 1993, Boudreau and another detective “solved” two

           separate murders with confessions from two mentally retarded

           juveniles, Fred Ewing and Darnell Stokes, classmates in special-

           education courses. One expert concluded that Ewing “was unable to

           comprehend the substance of the confession which he allegedly made.”

           Absent any other evidence connecting them to the crime, both were

           acquitted despite the confessions obtained by Boudreau.

       d. In 1998, Boudreau helped get a murder confession from a 13-year-old

           boy with a verbal IQ of 59. The judge later ruled that the boy did not



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           have the mental capacity to waive his rights and threw out the

           confession. Prosecutors then dropped the charges.

       e. After police officer Michael Ceriale was shot to death in 1998,

           Boudreau and other detectives arrested Jonathan Tolliver at 4:00 a.m.

           and interrogated him for a 24-hour period, resulting in allegedly

           incriminating (unwritten and unsigned) statements. Tolliver was

           never advised of his rights, no Miranda waiver was created, and his

           requests to speak with a lawyer and/or his mother were refused.

           Boudreau claimed that the protections for minors were not utilized

           because Tolliver, who was 16 years old, had lied about his age, falsely

           claiming to have been eighteen. After two trials, Tolliver was

           convicted of Ceriale’s murder.

       f. In connection with the Ceriale murder, Boudreau, among others,

           coerced statements from other witnesses to incriminate Tolliver. The

           means of coercion included an intentional withholding of insulin from

           one diabetic witness for more than 24 hours. When these witnesses

           later refused to testify at trial consistent with the false statements

           coerced by Boudreau, the State charged five of them with perjury, and

           at least one of them went to jail for it.

       g. Marcus Wiggins brought a lawsuit against Boudreau alleging that he

           was handcuffed to a wall and beaten in an interrogation room while

           being questioned with a group of youngsters in a 1991 murder case.



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           Wiggins’ mother had been denied access to her son, who was a 13-year

           old 8th grader at the time of the coerced confession. Six young

           suspects gave confessions. Two of these confessions were later thrown

           out on the basis of the “periodic screaming [at the police station]

           throughout the night,” screaming that Boudreau testified he did not

           hear. The remaining four were acquitted, including two who had been

           interrogated by Boudreau.

       h. Antoine Word was placed in an interrogation room by Boudreau, where

           he was cuffed to a bench for prolonged periods, unable to use the

           bathroom (he urinated on the floor), and beaten. Boudreau told Word

           that other witnesses had placed him at the scene of a murder, but that

           he would let him go home and help him if he signed a statement saying

           that he gave another man a gun. After almost 48 hours in the room,

           Word signed the statement written out by Boudreau, and was

           convicted of murder.

       i. Fabian Pico was 16 years old when he gave a self-incriminating

           statement to Boudreau which was then used to convict him of murder.

           When Pico moved to suppress the statement on the grounds that the

           police did not allow him access to his mother, Boudreau claimed that

           he had tried unsuccessfully to reach Pico’s mother by phone before Pico

           confessed, but this supposed attempted contact is not referenced

           anywhere in his written reports.



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       j. After being beaten by Defendant Boudreau, Jesse Clemon signed a

           written statement with his left hand (because his right hand had been

           injured). Witnesses in the station heard hollering and protests of “I

           didn’t do it.” Boudreau testified that the statement was not coerced,

           but the judge suppressed it anyway due to the “horrendously

           oppressive” atmosphere at the station.

       k. Kilroy Watkins was arrested and handcuffed to a metal ring in an

           interrogation room by Boudreau, who then choked and punched him in

           order to get him to confess to a six-month old shooting.   After more

           than 30 hours in this room with minimal sleep and food, Watkins

           signed an incriminating statement.

       l. In 1992, Clayborn Smith was interrogated for 37 hours about a murder

           he knew nothing about.    When Mr. Smith professed his innocence,

           another detective kicked and punched his head and body, and

           Boudreau threatened to charge Mr. Smith’s pregnant girlfriend if he

           did not confess. At one point, the detectives believed that they had

           successfully coerced Mr. Smith to confess, but when the Assistant

           State’s Attorney (“ASA”) entered the room, Mr. Smith continued to

           assert his innocence, whereupon the ASA left and the beating resumed.

           The same thing happened a second time, this time with another ASA,

           but again Mr. Smith refused to confess. When that ASA left the room,

           Boudreau and his partner resumed the beating, whereupon Mr. Smith,



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           deprived of both counsel and sleep for an inordinate time, finally

           signed a false confession.

       m. Christopher Holly filed a federal civil rights lawsuit against Boudreau

           and other detectives alleging that he was framed for a murder in 1998.

       n. Richard Malek alleges that Boudreau and other detectives kept him in

           an interrogation room for four days, depriving him of sleep, food, and

           access to lawyers, as well as using violence (they knocked out his tooth)

           and threats to shoot him (Russian Roulette) in an attempt to coerce his

           confession. Boudreau participated in this coercion, but played the

           “good cop,” uncuffing Mr. Malek and providing him with a McDonalds

           hamburger after he had been starved for an extended period. When

           they falsely claimed to have obtained an “oral” confession, Mr. Malek

           filed a federal lawsuit against Boudreau and others.

       o. In 1995, Detective Boudreau and his partner interrogated and coerced

           confessions from Oscar Gomez, Eric Gomez, and Abel Quinoles. Their

           tactics included holding all three men for 30 hours, beating them while

           they were shackled to the wall, and preventing them from

           communicating with an attorney or their families, all in a successful

           attempt to coerce false confessions. All three defendants were found

           not guilty, based largely on the conclusion that the detectives,

           including Boudreau, physically coerced their confessions.




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       p. In 1993, the day after Tyrone Reyna’s sixteenth birthday, he was

           beaten during an interrogation by Boudreau and his partner, who

           refused to let him contact his family and intimidated him into

           confessing to a murder he did not commit. Tyrone Reyna’s co-

           defendants, Nicholas Escamilla and Miguel Morales, were arrested by

           Boudreau for murder despite the lack of any physical evidence or eye

           witnesses linking Escamilla to the crime. Boudreau tortured

           Escamilla by beating him and threatening to send his pregnant wife to

           jail if he did not confess. After many hours of abuse, Escamilla

           eventually falsely confessed as well. Miguel Morales was also beaten

           during his interrogation. However, unlike Escamilla, Morales refused

           to confess. Boudreau then coerced a friend of Morales into stating that

           Morales had confessed to the murder over the phone. The witness

           recanted his statement at trial, and testified that he only gave the

           statement after he had been beaten for over twenty hours and

           threatened with prosecution until he falsely implicated Morales.

       q. In 1998, Boudreau and his partner held Joseph Jackson in an

           interrogation room in connection with a murder. When Jackson

           refused to confess, Boudreau placed a book on his chest and stomach

           and hit the book with a black jack, so as not to leave visible marks on

           Jackson’s body. Meanwhile, Boudreau’s partner, using a torture

           technique referred to in the Department as “bagging,” placed a



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           typewriter cover over Jackson’s head and cut off his air supply.     As a

           result of this coercion, Jackson eventually confessed to a murder he did

           not commit.

       r. In 1991, fifteen year-old John Plummer was interrogated for 36 hours

           by Detective Boudreau and his partner. After being physically beaten,

           he falsely confessed to a murder.

       s. In 1992, Arnold Day was interrogated in connection with a murder

           investigation. Mr. Day was isolated in an interrogation room for many

           hours while Detective Boudreau psychologically and physically

           tortured him until he finally confessed.

       t. In 1993, Richard Anthony was forced to confess to murder by Detective

           Boudreau’s partner, who beat Anthony and denied him food, sleep, and

           use of the restroom in order to coerce Anthony into giving a false

           statement. Richard Anthony’s co-defendant, Jerry Gillespie, was also

           beaten by Boudreau and his partner during his 30 hour interrogation,

           which included preventing him from contacting an attorney or his

           family and refusing to allow him to use the bathroom. As a result of

           the abuse, coercion and intimidation, Gillespie eventually gave a false

           confession.

       u. In 1995, Boudreau was part of a team of detectives who physically

           abused John Wright until he agreed to implicate Malik Taylor and

           Michael Taylor in connection with a murder.



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         v. In 1993, Emmett White was arrested by Boudreau and another

             detective, who hit him in the face, punched him in the body, threw him

             to the ground and stepped on his face, dragging his head across the

             floor of the interrogation room, all in an attempt to get him to falsely

             confess. Photographs of Mr. White corroborated his testimony of his

             abuse.

      105.   In addition to the above examples involving Defendant Boudreau,

there are many other examples of similar misconduct by the other Defendant

Officers. For example:

         a. In 1987, Defendant Foley worked with other Chicago detectives to

             obtain a false confession from Frank Bounds for a murder. The

             detectives hit Bounds on the head and threatened to implicate

             Bounds’s girlfriend in the murder if he did not confess.

         b. In 1984, Defendant Cassidy forced an 11-year-old boy A.M. to confess

             to murdering an 83-year-old woman. The boy was unlawfully detained

             in the police station and interrogated outside the presence of either his

             parents or a youth officer. Although A.M. was wrongly convicted on the

             basis of this confession, his confession was ultimately suppressed and

             the adjudication was later expunged.

         c. In 1997, Chicago police officers, including Defendant Cassidy, forced

             13-year-old Jimie Haynes to confess to murder after being held in the

             station for more than 14 hours without a guardian or youth officer.



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           Prosecutors eventually dropped the charges after the confession was

           suppressed.

       d. In 1998, Defendant Cassidy forced two other young boys, aged 7 and 8,

           to falsely confess to the murder of an 11-year-old boy. The two boys

           were later exonerated when forensic testing revealed that a 30-year-old

           man, Floyd Durr, had left semen on the victim’s underwear and was

           the true perpetrator.

       e. In November 1998, Chicago police officers, including Defendant

           Cassidy, coerced Steven Hudson into falsely confessing to a murder by

           beating him, shocking him, and threatening to arrest his girlfriend and

           take his son away if he did not confess. The statement was eventually

           suppressed and, as no other evidence implicated Hudson in the

           murder, the charges were dismissed.

       f. In 1997, Defendant Coughlin obtained a false confession from Robert

           Wilson for attempted murder. Wilson was held in police custody for an

           extended period of time, physically abused, denied sleep, food and

           medication, intimidated, and promised leniency if he confessed.

       g. In March 1997, Defendant Coughlin coerced another false murder

           confession from 15-year-old Eric Kittler. Kittler was held for 12 hours,

           deprived of food and sleep, threatened with physical harm, and told he

           could go home once he confessed. His mother was not allowed into the




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               interrogation room until he was about to sign the statement. Kittler

               was ultimately acquitted and settled a civil rights suit for $2 million.

      106.     Part and parcel with this history of fostering egregious misconduct, the

Chicago Police Department has a long history of using physically and

psychologically coercive interrogation tactics in order to elicit statements from

suspects in criminal cases, which has caused false confessions and led to wrongful

convictions.

      107.     The wrongful conviction of innocent persons who gave coerced and

false confessions include numerous cases in which Chicago Police Detectives used

the very same tactics that the Defendants employed against Plaintiff in this case.

These tactics include: (a) psychological intimidation and manipulation; (b) the use of

clearly unreliable or coerced informants; (c) the fabrication of confessions; (d) the

misleading of parents and denial of parents’ access to their children during

interrogations; (e) the denial of access to counsel; (f) the concealment of exculpatory

information; (g) false promises of leniency in exchange for “cooperation” in the form

of a confession; and (h) the use of other unlawful tactics to secure the arrest,

prosecution, and conviction of persons, including juveniles and teenagers, without

regard to their actual guilt.

      108.     At the time of the events leading to Plaintiff’s coerced confession and

wrongful conviction, members of the Chicago Police Department systematically

promoted the malicious prosecution of teenagers and other vulnerable individuals

by using abusive and coercive interrogation tactics to force them to confess to crimes



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they did not commit. Youth are inherently more suggestible, they are vulnerable to

manipulation, and they frequently lack the ability to fully understand—let alone

assert-their rights during an interrogation.

      109.   As a matter of widespread custom and practice, Chicago Police

Department Detectives, including but not limited to the Defendants, exploited the

vulnerability and suggestibility of the youth in their custody in order to obtain false

confessions and close cases. Detectives systematically denied juvenile and teenager

suspects access to their parents and to counsel, fed them details of the crime, made

false promises of leniency, and generally subjected these teenagers to immense

physical and mental pressure until they “confessed.”

      110.   Consistent with the municipal policy and practice described in the

preceding paragraphs, members of the Chicago Police Department, including but

not limited to the Defendant Officers, systematically suppressed evidence

pertaining to these fabricated and coerced confessions, both from the Trial Division

of the Cook County State’s Attorney’s Office and from criminal defendants, whose

co-defendants’ coerced confessions were introduced against them at trial.




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      114.   As a matter of both policy and practice, municipal policy makers and

department supervisors condoned and facilitated a code of silence within the

Chicago Police Department. In accordance with this code, Chicago Police Detectives

refused to report and otherwise lied about misconduct committed by their

colleagues, including the misconduct at issue in this case.




      115.   As a result of the City of Chicago’s established practice of not tracking

and identifying police officers who are repeatedly accused of the same kinds of

serious misconduct; failing to investigate cases in which the police are implicated in

obtaining coerced and false confessions, as well as wrongful charges and

convictions; failing to discipline officers accused of this unlawful conduct; and

facilitating a code of silence within the Chicago Police Department, Chicago police

officers (including the Defendants here) have come to believe that they may violate

the civil rights of members of the public and cause innocent persons to be charged

with serious crimes without fear of adverse consequences. As a result of these

policies and practices of the City of Chicago, members of the Chicago Police

Department act with impunity when they violate the constitutional and civil rights

of citizens, including the youngest and most vulnerable members of society.

      116.   The City’s failure to train, supervise, and discipline its officers

effectively condones, ratifies, and sanctions the kind of misconduct that the

Defendant Officers committed against Plaintiff in this case. Constitutional



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violations such as those that occurred in this case are encouraged and facilitated as

a result of the City’s practices and de facto policies, as alleged above.

      117.    The City of Chicago and officials within the Chicago Police Department

failed to act to remedy the patterns of abuse described in the preceding paragraphs,

despite actual knowledge of the pattern of misconduct. They thereby perpetuated

the unlawful practices and ensured that no action would be taken (independent of

the judicial process) to remedy Plaintiff’s ongoing injuries.

      118.    The policies and practices described in the foregoing paragraphs were

consciously approved by City of Chicago policymakers who were deliberately

indifferent to the violations of constitutional rights described herein.

                                  Plaintiff’s Exoneration

      119.    Throughout his prosecution and incarceration, Harold Richardson

maintained his innocence and pursued all possible avenues to prove it.

      120.    In February 24, 2011, Plaintiff joined Terrill Swift and Michael

Saunders in filing a motion for post-conviction DNA testing.

      121.    Cellmark Laboratories in Dallas, Texas conducted the DNA testing

and obtained a single male DNA profile from the vaginal swab extracts collected

from Ms. Glover post-mortem.

      122.    Despite the “confessions” claiming that four of the co-defendants had

intercourse with the victim, the testing revealed that only one person had left DNA

in the victim. That person, as everyone knew, was not Harold or any of his co-

defendants.



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      123.   On May 13, 2011, the Illinois State Police submitted the DNA profile to

the Combined DNA Index System (CODIS) database, which returned a match to the

DNA profile of Johnny Douglas, the convicted felon who was inexplicably present

when the body was found in the early morning hours of November 7, 1994.

      124.   On May 29, 2011, Harold Richardson and his co-defendants filed a

joint petition to vacate their convictions. The Circuit Court of Cook County granted

the joint petition on November 16, 2011. Shortly thereafter, the Cook County

State’s Attorney’s Office stated they would nolle prosequi future charges.

      125.   On September 14, 2012, the State of Illinois granted Mr. Richardson a

certificate of innocence.

                                    Plaintiff’s Damages

      126.   Harold Richardson spent more than 16 ½ years in prison for a crime he

did not commit. He must now attempt to make a life for himself outside of prison

without the benefit of nearly two decades of life experiences—including his

adolescence and young adulthood—which normally equip adults for that task.

      127.   Additionally, the emotional pain and suffering caused by losing these

formative years has been substantial. Harold was taken from his family when he

was just 16 years old. During his incarceration, he was stripped of the various

pleasures of basic human experience, from the simplest to the most important,

which all free people enjoy as a matter of right. He missed out on the ability to

graduate from high school with his friends, to share holidays, births, funerals, and

other life events with loved ones, the opportunity to have girlfriends, to fall in love,



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to marry, and to pursue a career, and the fundamental freedom to live one’s life as

an autonomous human being. Several relatives died while he was incarcerated,

including, most painfully, his oldest brother. Harold was denied the opportunity to

attend their funerals, and continues to struggle to find a means to grieve.

      128.   As a result of the foregoing, Harold Richardson has suffered

tremendous damage, including but not limited to physical harm, mental suffering,

and loss of a normal life, all proximately caused by Defendants’ misconduct.

                                Count I – 42 U.S.C. § 1983
                                   Fifth Amendment

      129.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      130.   In the manner described more fully above, the Defendant Officers and

ASAs, individually, jointly, and in conspiracy with one another, as well as under

color of law and within the scope of their employment, forced Plaintiff to

incriminate himself falsely and against his will, in violation of his rights secured by

the Fifth and Fourteenth Amendments.

      131.   As described more fully above, the Defendant Officers and Defendant

ASAs conducted an unconstitutional interrogation of Plaintiff, which caused

Plaintiff to make involuntary statements implicating himself in the rape and

murder of Nina Glover.

      132.   The false statements created, written, and coerced by the Defendant

Officers and Defendant ASAs, and attributed to Plaintiff, were used against




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Plaintiff to his detriment in a criminal case. These statements were the only reason

that Plaintiff was prosecuted and convicted of the murder of Ms. Glover.

         133.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, with reckless indifference to the

rights of others, and in total disregard of the truth and Plaintiff’s clear innocence.

         134.   As a result of Defendants’ misconduct described in this Count, Plaintiff

suffered injuries, including but not limited to loss of liberty, physical harm, and

emotional distress.

                                  Count II – 42 U.S.C. § 1983
                                  Violation of Due Process

         135.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

         136.   As described more fully above, all of the Defendants, while acting

individually, jointly, and/or in conspiracy, as well as under color of law and within

the scope of their employment, deprived Plaintiff of his constitutional right to a fair

trial.

         137.   In the manner described more fully above, the Defendants

individually, jointly, and/or in concert and in conspiracy, fabricated false reports

and other evidence which caused the conviction of Plaintiff. This misconduct

includes: fabricating that the nonpublic information about the crime had originated

with Plaintiff and his co-defendants, when it had actually been fed to them by the

Defendants; fabricating reports purporting to official memorialize oral confession




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that he refused to sign, as well as other reports purporting to memorialize Plaintiff’s

statement’s.

       138.    In the manner described more fully above, the Defendants

individually, jointly, and/or in concert and in conspiracy, deliberately withheld

exculpatory and impeachment evidence—such as the teenagers truthful exculpatory

statements, the Defendants’ coercion that resulted in the co-defendants’ fabricated

confessions, and the original statement that the Defendants attempted to have

Plaintiff sign—from the ASAs assigned to prosecute the case, the Court, and the

defense. By failing to disclose this information, Defendants violated their clearly

established duty to report all exculpatory material and impeachment information to

a competent authority.

       139.    Absent Defendants’ misconduct, the prosecution of Plaintiff could not

and would not have been pursued, and Plaintiff would not have been convicted.

       140.    The Defendants’ misconduct directly and proximately resulted in the

unjust and wrongful criminal conviction of Plaintiff and his continuing wrongful

imprisonment, thereby denying him his constitutional right to a fair trial, in

violation of the Due Process Clause of the Fourteenth Amendment to the United

States Constitution.

       141.    As a direct and proximate result of this violation of his constitutional

right to a fair trial, Plaintiff suffered injuries, including but not limited to loss of

liberty, physical harm, and emotional distress.




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         142.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice and willful indifference to Plaintiff’s

clearly established constitutional rights.

                                   Count III – 42 U.S.C. § 1983
                                    Failure to Intervene

         143.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

         144.   In the manner described above, by their conduct and under color of

law, during the constitutional violations described herein, one or more of the

Defendants stood by without intervening to prevent the violation of Plaintiff’s

constitutional rights, even though they had the opportunity to do so.

         145.   As a direct and proximate result of the Defendants’ failure to intervene

to prevent the violation of Plaintiff’s constitutional rights, Plaintiff suffered injuries,

including but not limited to loss of liberty, physical harm, and emotional distress.

These Defendants had a reasonable opportunity to prevent this harm, but failed to

do so.

         146.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice and willful indifference to Plaintiff’s

clearly established constitutional rights.

                               Count IV – 42 U.S.C. § 1983
                       Conspiracy to Deprive Constitutional Rights

         147.   Each paragraph of this Complaint is incorporated as if restated fully

herein.



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      148.   After the murder of Ms. Glover, the Defendants, acting within the

scope of their employment and under color of law, agreed among themselves and

with other individuals to act in concert in order to deprive Plaintiff of his

constitutional rights, including his rights to due process and to a fair trial, all as

described in the various paragraphs of this Complaint.

      149.   Additionally, before and after Plaintiff’s conviction, the Defendants

further conspired to deprive Plaintiff of exculpatory information to which he was

lawfully entitled and which would have led to either his not being charged, his

acquittal, or his more timely exoneration.

      150.   In this manner, the Defendants, acting in concert with other unknown

co-conspirators, conspired by concerted action to accomplish an unlawful purpose by

unlawful means.

      151.   In furtherance of the conspiracy, each of the co-conspirators engaged in

and facilitated numerous overt acts, including but not limited to those set forth

above—such as fabricating evidence, withholding exculpatory evidence, coercing

false confessions, committing perjury during hearing and trials—and was an

otherwise willful participant in joint activity.

      152.   As a direct and proximate result of the illicit prior agreement and

actions in furtherance of the conspiracy referenced above, Plaintiff’s rights were

violated, and he suffered injuries, including but not limited to loss of liberty,

physical harm, and emotional distress.




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       153.   The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally, with malice, willfulness, and deliberate

indifference to Plaintiff’s rights.

                                  Count V – 42 U.S.C. § 1983
                                   Supervisory Liability

       154.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

       155.   The unfair trial, wrongful conviction, and continued wrongful

detention of Plaintiff were caused by the deliberate indifference and recklessness of

supervisory defendants, including but not limited to Defendant Tudier, when they

failed to adequately train and supervise the individual Defendant Officers.

       156.   Specifically, these supervisory defendants were personally involved in

the case against Plaintiff and knew or, in the absence of their deliberate

indifference and recklessness, should have known of their subordinates’

unconstitutional actions and related misconduct in the case.

       157.   Furthermore, these supervisory defendants failed to supervise the

individual defendants in constitutionally adequate law enforcement practices,

particularly those which concerned interviews of suspects and the production of

exculpatory evidence, thereby encouraging and/or permitting these defendants and

other employees to coerce and fabricate false inculpatory evidence and to withhold

exculpatory and impeachment evidence, which caused the constitutional

deprivations suffered by Plaintiff




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      158.   These interview techniques, failures in producing exculpatory

evidence, fabrications and other investigative procedures were contrary to accepted

methods used by law enforcement agencies. The fact that the defendant supervisors

failed to train and supervise their subordinates to ensure that they employed proper

investigation procedures demonstrates deliberate indifference and reckless

disregard for Plaintiff’s constitutional rights.

      159.   The personal involvement of the defendant supervisors, through their

actions and omissions, proximately and directly caused the constitutional

deprivations and grievous personal injuries suffered by Plaintiff, including the

above-mentioned injuries and damages.

      160.   The misconduct described in this Count was objectively unreasonable,

and was undertaken intentionally, with malice, willfulness, and deliberate

indifference to Plaintiff’s clearly established constitutional rights.

                                Count VI – 42 U.S.C. § 1983
                                      Monell Claim

      161.   Each paragraph in this Complaint is incorporated as if restated fully

herein.

      162.   The actions of all the individual Defendant Officers were undertaken

pursuant to policies and practices of the Chicago Police Department, described

above, which were ratified by policymakers for the City of Chicago with final

policymaking authority. These policies and practices included the failure to

adequately train, supervise, and discipline officers who engaged in the alleged

constitutional violations, set forth in greater detail above.

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      163.   The policies and practices described in this Count were maintained

and implemented by the City of Chicago with deliberate indifference to Plaintiff’s

constitutional rights.

      164.   As a direct and proximate result of the City’s actions, Plaintiff’s

constitutional rights were violated and he suffered injuries and damages, as set

forth in this Complaint.

      165.   The City of Chicago is therefore liable for the misconduct committed by

the Defendant Officers.

                              Count VII – State Law Claim
                                Malicious Prosecution

      166.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      167.   The Defendant Officers accused Plaintiff of criminal activity knowing

those accusations to be without genuine probable cause, and they made statements

to prosecutors with the intent of exerting influence and to institute and continue the

judicial proceedings.

      168.   The Defendant Officers caused Plaintiff to be improperly subjected to

judicial proceedings for which there was no probable cause. These judicial

proceedings were instituted and continued maliciously, resulting in injury.

      169.   Statements of the Defendants regarding Plaintiff’s alleged culpability

were made with knowledge that said statements were false and perjured. The

Defendants also fabricated evidence by coercing false inculpatory testimony from co-

defendants. The Defendants were aware that, as described more fully above, no

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true or reliable evidence implicated Plaintiff in the Glover strangulation-murder, all

inculpatory evidence was coerced and fabricated, and forensic evidence indicated

Plaintiff’s innocence. Furthermore, the Defendants intentionally withheld from and

misrepresented to prosecutors facts that further vitiated probable cause against

Plaintiff, as set forth above, and failed to investigate evidence which would have led

to the actual perpetrator. The Defendant Officers withheld the facts of their

manipulation and the resulting fabrications from Plaintiff.

       170.   The misconduct described in this Count was undertaken intentionally,

with malice, willfulness, and reckless indifference to the rights of others.

       171.   Plaintiff’s conviction was vacated on November 16, 2011, and the

prosecution terminated in Plaintiff’s favor on January 17, 2012, when the Cook

County State’s Attorney’s Office agreed to nolle prosequi future charges. On

September 14, 2012, Plaintiff was granted a Certificate of Innocence by the State of

Illinois.

       172.   As a direct and proximate result of this misconduct, Plaintiff

sustained, and continues to sustain, injuries as set forth above, including pain and

suffering.

                             Count VIII – State Law Claim
                      Intentional Infliction of Emotional Distress

       173.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

       174.   The acts and conduct of the Defendants as set forth above were

extreme and outrageous. The Defendants’ actions were rooted in an abuse of power

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or authority, and they were undertaken with intent to cause, or were in reckless

disregard of the probability that their conduct would cause, severe emotional

distress to Plaintiff, as is more fully alleged above.

      175.   As a direct and proximate result of the Defendants’ actions, Plaintiff

suffered and continues to suffer severe emotional distress.




                                Count IX – State Law Claim
                                    Civil Conspiracy

      176.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

      177.   As described more fully in the preceding paragraphs, the Defendants,

acting in concert with other known and unknown co-conspirators, conspired by

concerted action to accomplish an unlawful purpose by unlawful means.

      178.   In furtherance of the conspiracy, the Defendants committed overt acts

and were otherwise willful participants in joint activity including but not limited to

the malicious prosecution of Plaintiff and the intentional infliction of emotional

distress upon him.

      179.   The misconduct described in this Count was undertaken intentionally,

with malice, willfulness, and reckless indifference to the rights of others.

      180.   As a direct and proximate result of the Defendants’ conspiracy,

Plaintiff suffered damages, including severe emotional distress and anguish, as is

more fully alleged above.

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                                Count X – State Law Claim
                                  Respondeat Superior

       181.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

       182.   In committing the acts alleged in the preceding paragraphs, each of the

Defendant Officers were members of, and agents of, the Chicago Police Department,

acting at all relevant times within the scope of their employment and under color of

law.

       183.   Defendant City of Chicago is liable as principal for all torts committed

by its agents.

       184.   In committing the acts alleged in the preceding paragraphs,

Defendants Johnson and Valentini were members of, and agents of, the Cook

County State’s Attorney’s Office, acting at all relevant times within the scope of

their employment and under color of law.

       185.   Defendant Cook County is liable as principal for all torts committed by

its agents.

                               Count XI – State Law Claim
                                   Indemnification

       186.   Each paragraph of this Complaint is incorporated as if restated fully

herein.

       187.   Illinois law provides that public entities are directed to pay any tort

judgment for compensatory damages for which employees are liable within the

scope of their employment activities.



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      188.   The Defendant Officers are or were employees of the Chicago Police

Department, who acted within the scope of their employment in committing the

misconduct described herein.

      189.   Defendant Cook County was at all times material to this complaint the

employer of Defendants Johnson and Valentini, and is therefore responsible for any

judgment entered against Defendants Johnson and Valentini and for any judgment

entered against him during said employment with the County, making the County a

necessary party to this complaint.


      WHEREFORE, Plaintiff, HAROLD RICHARDSON, respectfully requests

that this Court enter judgment in his favor and against Defendants, CITY OF

CHICAGO, Chicago Police Department Detectives KENNETH BOUDREAU,

RICHARD PALADINO, JAMES CASSIDY, THOMAS COUGHLIN, WILLIAM

FOLEY, FRANK VALADEZ, and PAT MCCAFFERTY, Chicago Police Sergeant

LAWRENCE TUDIER, Assistant Cook County State’s Attorney’s FABIO

VALENTINI and TERENCE JOHNSON, COOK COUNTY, ILLINOIS, and as-yet

unknown City of Chicago Employees, awarding compensatory damages, attorneys’

fees, and costs against each Defendant, and punitive damages against each of the

individual Defendants, as well as any other relief this Court deems appropriate.


                                  JURY DEMAND


      Plaintiff, HAROLD RICHARDSON, hereby demands a trial by jury pursuant

to Federal Rule of Civil Procedure 38(b) on all issues so triable.


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                                            Respectfully submitted,


                                            /s/ David B. Owens
                                            One of Plaintiff’s Attorneys

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